 Case 6:18-cv-01326-RBD-KRS Document 1 Filed 08/15/18 Page 1 of 10 PageID 1




                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

JACQUELINE PAYNE,

       Plaintiff,
                                                       CASE NO.:   6:18-cv-1326-ORL-37-KRS
-VS-

RECEIVABLES PERFORMANCE
MANAGEMENT, LLC,

       Defendant.
                                         /

                         COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW Plaintiff, Jacqueline Payne, by and through the undersigned counsel, and

sues Defendant, RECEIVABLES PERFORMANCE MANAGEMENT, LLC, and in support

thereof respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C.

§227 et seq. (“TCPA”), the Florida Consumer Collection Practices Act, Fla. Stat. §559.55 et seq.

(“FCCPA”) and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”).

                                             INTRODUCTION

        1.          The TCPA was enacted to prevent            companies    like   RECEIVABLES

PERFORMANCE MANAGEMENT, LLC (hereinafer “Defendant”), from invading American

citizen’s privacy and prevent abusive “robo-calls.”

        2.          “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct. 740, 745, 181

L.Ed. 2d 881 (2012).




                                                   1
 Case 6:18-cv-01326-RBD-KRS Document 1 Filed 08/15/18 Page 2 of 10 PageID 2




       3.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the *1256

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner at

night; they force the sick and elderly out of bed; they hound us until we want to rip the telephone

out of the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give

telephone subscribers another option: telling the autodialers to simply stop calling.” Osorio v.

State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       4.      According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-

proposal

                                 JURISDICTION AND VENUE


       5.      This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,000.00) exclusive of attorney fees and costs.

       6.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

       7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014)


                                                  2
 Case 6:18-cv-01326-RBD-KRS Document 1 Filed 08/15/18 Page 3 of 10 PageID 3




       8.      The alleged violations described herein occurred in Brevard County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                   FACTUAL ALLEGATIONS

       9.      Plaintiff is a natural person, and citizen of the State of Florida, residing in Brevard

County, Florida.

       10.     Plaintiff is a “consumer” as defined in Florida Statute 559.55(8) and 15 U.S.C. §

1692(a)(3).

       11.     Plaintiff is an “alleged debtor.”

       12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       13.     Defendant is a corporation with its principal place of business located at 20816

44th Ave. West, Lynnwood, Washington 98036 and which conducts business in the State of

Florida through its registered agent, CT Corporation System located at 1200 South Pine Island

Road, Plantation, Florida 33324.

       14.     Defendant is a “debt collector” as defined by Florida Statute § 559.55(7) and 15

U.S.C. § 1692(a)(6).

       15.     The debt that is the subject matter of this complaint is a “consumer debt” as

defined by Florida Statute §559.55(6) and U.S.C. § 1692(a)(5).

       16.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately one-

hundred (100) times in an attempt to collect a debt.



                                                   3
 Case 6:18-cv-01326-RBD-KRS Document 1 Filed 08/15/18 Page 4 of 10 PageID 4




       17.     Defendant attempted to collect an alleged debt from the Plaintiff by this campaign

of telephone calls.

       18.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back to back days, with such frequency as can

reasonably be expected to harass.

       19.     Upon information and belief, some or all of the calls the Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”

which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter

“autodialer calls”). Plaintiff will testify that she knew it was an autodialer because of the vast

number of calls she received and because she heard a pause when she answered her phone before

a voice came on the line and/or she received prerecorded messages from Defendant.

       20.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (321) ***-4570, and was the called party and recipient of Defendant’s calls.

       21.     Defendant placed an exorbitant number of automated calls to Plaintiff’s cellular

telephone (321) ***-4570 in an attempt to collect on a debt.

       22.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified the calls

were being initiated from, but not limited to, the following telephone number: (321) 204-3826.

       23.     On several occasions over the last year, Plaintiff instructed Defendant’s agent(s)

to stop calling her cellular telephone.




                                                4
 Case 6:18-cv-01326-RBD-KRS Document 1 Filed 08/15/18 Page 5 of 10 PageID 5




        24.     In or about March of 2018, Plaintiff answered a phone call from the Defendant to

her aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of

Defendant and informed the agent/representative that “you need to quit calling me, because I

don’t owe you any money.”

        25.     In or about April of 2018, Plaintiff answered a phone call from the Defendant to

her aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of

Defendant and stated: “if you keep calling and harassing me, I’m going to call my layer.”

        26.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as it did to the Plaintiff’s cellular telephone in

this case.

        27.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as it did to the Plaintiff’s cellular telephone in this case,

with no way for the consumer, or Defendant, to remove the number.

        28.     Defendant’s corporate policy is structured as to continue to call individuals like

the Plaintiff, despite these individuals explaining to Defendant they wish for the calls to stop.

        29.     Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this Complaint.

        30.     Defendant has numerous complaints against them across the country asserting that

their automatic telephone dialing system continues to call despite being requested to stop.

        31.     Defendant has had numerous complaints from consumers against them across the

country asking to not be called, however the Defendant continues to call the consumers.




                                                   5
 Case 6:18-cv-01326-RBD-KRS Document 1 Filed 08/15/18 Page 6 of 10 PageID 6




        32.    Defendant’s corporate policy provided no means for the Plaintiff to have her

number removed from the call list.

        33.    Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge that the called parties do not wish to be called.

        34.    None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

        35.    Defendant willfully and/or knowingly violated the TCPA with respect to the

Plaintiff.

        36.    From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon

her right of seclusion.

        37.    From each and every call without express consent placed by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of her cellular telephone line

and cellular phone by unwelcome calls, making the phone unavailable for legitimate callers or

outgoing calls while the phone was ringing from Defendant’s call.

        38.    From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time. For

calls she answered, the time she spent on the call was unnecessary as she had repeatedly asked

for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the phone

and deal with missed call notifications and call logs that reflected the unwanted calls. This also

impaired the usefulness of these features of Plaintiff’s cellular phone, which are designed to

inform the user of important missed communications.



                                                  6
 Case 6:18-cv-01326-RBD-KRS Document 1 Filed 08/15/18 Page 7 of 10 PageID 7




         39.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls that were

answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for unanswered

calls, Plaintiff had to waste time to unlock the phone and deal with missed call notifications and

call logs that reflected the unwanted calls. This also impaired the usefulness of these features of

Plaintiff’s cellular phone, which are designed to inform the user of important missed

communications.

         40.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell phone’s battery

power.

         41.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone where a voice message was left which occupied space in Plaintiff’s phone or network.

         42.    Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely her cellular phone and

her cellular phone services.

         43.    As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by stress and anxiety.

                                            COUNT I
                                     (Violation of the TCPA)

         44.    Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty-three

(43) as if fully set forth herein.




                                                  7
 Case 6:18-cv-01326-RBD-KRS Document 1 Filed 08/15/18 Page 8 of 10 PageID 8




        45.     Defendant willfully violated the TCPA with respect to the Plaintiff, especially for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that she wished for the calls to stop.

        46.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, treble

damages, enjoinder from further violations of these parts and any other such relief the court may

deem just and proper.

                                             COUNT II
                                     (Violation of the FCCPA)

        47.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty-three

(43) as if fully set forth herein.

        48.     At all times relevant to this action Defendant is subject to and must abide by the

laws of the State of Florida, including Florida Statute § 559.72.

        49.     Defendant has violated Florida Statute §559.72(7) by willfully communicating

with the debtor or any member of her or his family with such frequency as can reasonably be

expected to harass the debtor or her or his family.

        50.     Defendant has violated Florida Statute §559.72(7) by willfully engaging in other

conduct which can reasonably be expected to abuse or harass the debtor or any member of her or

his family.


                                                   8
 Case 6:18-cv-01326-RBD-KRS Document 1 Filed 08/15/18 Page 9 of 10 PageID 9




          51.   Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

continuous sustaining of damages as described by Florida Statute §559.77.

                WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against RECEIVABLES PERFORMANCE MANAGEMENT, LLC for

statutory damages, punitive damages, actual damages, costs, interest, attorney fees, enjoinder

from further violations of these parts and any other such relief the court may deem just and

proper.

                                            COUNT III
                                     (Violation of the FDCPA)

          52.   Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty-three

(43) as if fully set forth herein.

          53.   At all times relevant to this action Defendant is subject to and must abide by 15

U.S.C. § 1692 et seq.

          54.   Defendant has violated 15 U.S.C. § 1692(d) by willfully engaging in conduct the

natural consequence of which is to harass, oppress, or abuse any person in connection with the

collection of a debt.

          55.   Defendant has violated 15 U.S.C. § 1692(d)(5) by causing a telephone to ring or

engaging any person in telephone conversation repeatedly or continuously with intent to annoy,

abuse, or harass any person at the called number.

          56.   Defendant has violated 15 U.S.C. § 1692(f) by using unfair and unconscionable

means to collect or attempt to collect any debt.




                                                   9
Case 6:18-cv-01326-RBD-KRS Document 1 Filed 08/15/18 Page 10 of 10 PageID 10




              WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against RECEIVABLES PERFORMANCE MANAGEMENT, LLC for

statutory damages, punitive damages, actual damages, costs, interest, attorney fees, enjoinder

from further violations of these parts and any other such relief the court may deem just and

proper.

                                                   /s/ Jason R. Derry, Esquire
                                                   Jason R. Derry, Esquire
                                                   Florida Bar No.: 0036970
                                                   Morgan & Morgan, Tampa, P.A.
                                                   One Tampa City Center
                                                   201 North Franklin Street, 7th Floor
                                                   Tampa, FL 33602
                                                   Telephone: (813) 223-5505
                                                   Facsimile: (813) 257-0577
                                                   jderry@ForThePeople.com
                                                   jkneeland@ForThePeople.com
                                                   Attorney for Plaintiff




                                              10
